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                  IN THE DISTRICT COURT OF THE UNITED STATES
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION

JIMMIE E. PARKER, #199999,                     )
                                               )
            Plaintiff,                         )
                                               )
       v.                                      ) CIVIL ACTION NO.2:07-CV-624-WKW
                                               )                  [WO]
                                               )
TROY KING, et al.,                             )
                                               )
            Defendants.                        )

               RECOMMENDATION OF THE MAGISTRATE JUDGE

       On April 22, 2010, the court entered an order requiring the plaintiff, Jimmie E. Parker,

to advise the court of whether he sought to proceed in this cause of action. Court Doc. No.

44. The court further specifically cautioned Parker that his "fail[ure] to file a response in

compliance with this order will result in a Recommendation that this case be dismissed." Id.

The time for Parker to file a response expired on May 3, 2010. As of the present date, Parker

has filed nothing in response to the order of April 22, 2010.

       Accordingly, it is the RECOMMENDATION of the Magistrate Judge that this case

be dismissed with prejudice for the plaintiff's failure to prosecute this action.

       It is further

       ORDERED that on or May 27, 2010 the parties may file objections to the

Recommendation.          Any objection must specifically identify the findings in the

Recommendation objected to. Frivolous, conclusive or general objections will not be
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considered by the District Court. The parties are advised that this Recommendation is not

a final order of the court and, therefore, it is not appealable.

       Failure to file written objections to the proposed findings in the Recommendation

shall bar the party from a de novo determination by the District Court of issues covered in

the report and shall bar the party from attacking on appeal factual findings in the report

accepted or adopted by the District Court except upon grounds of plain error or manifest

injustice. Nettles v. Wainwright, 677 F.2d 404 (5th Cir. 1982). See Stein v. Reynolds

Securities, Inc., 667 F.2d 33 (11th Cir. 1982). See also Bonner v. City of Prichard, 661 F.2d

1206 (11th Cir. 1981, en banc), adopting as binding precedent all decisions of the former Fifth

Circuit issued prior to September 30, 1981.

       Done this 13th day of May, 2010.




                                            /s/ Terry F. Moorer
                                            TERRY F. MOORER
                                            UNITED STATES MAGISTRATE JUDGE




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